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Attorneys for Bardwell Defendants

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Ronald H. Pratte, Case No.: 2:19-cv-00239-PHX-GMS

Plaintiff,
VS.

Jeffrey Bardwell and Fanny F. Bardwell,
husband and wife,

Defendants.

Pursuant to Fed. R. Civ. P. 45(a)(4), Defendant Jeffrey Bardwell gives notice of
his intent to serve a Subpoena Duces Tecum on the following individual: Jaime Ziparo.

A copy of the subpoena has been provided to Plaintiff's counsel via U.S. Mail

and/or email.

NOTICE OF INTENT TO SERVE
SUBPOENA DUCES TECUM

transmitted the foregoing document to the Clerk’s Office using the ECF system for filing

and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in thig

case.

By: /s/ Thomas J. Marlowe

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Dated this 29" day of October, 2019.

By: /s/ Thomas J. Marlowe

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Attorney for Defendant

CERTIFICATE OF SERVICE

J, Thomas J. Marlowe, hereby certify that on October 29, 2019, I electronically

Gregory B. Collins

Zachary R. Fort

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